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                                     IN THE UNITED STATES DISTRICT COURT
                                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION


UNITED STATES OF AMERICA                                                  §
                                                                          §
v.                                                                        §     CRIMINAL NO. H-02-633-01
                                                                          §
JOHN BEARD                                                                §


                                                                        ORDER

             John Beaird’s Motion to Take Judicial Notice [Doc. # 182] is denied as moot.

It is SO ORDERED.

             SIGNED at Houston, Texas, this 6th day of April, 2006.




P:\ORDERS\1-CRIMIN\2001-2004\02-633.judicial notice.wpd   060406.1116
